              Case 5:22-cv-01745-NC Document 23 Filed 09/28/22 Page 1 of 12




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16

17                                UNITED STATES DISTRICT COURT
18                               NORTHERN DISTRICT OF CALIFORNIA
19
     LEYLA SHAMS, as an individual and on         Case No.: 22-cv-01745-NC
20   behalf of all others similarly situated,
                                                  NOTICE OF NEW AUTHORITY IN SUPPORT
21                  Plaintiff,                    OF PLAINTIFF’S OPPOSITION TO
22                                                DEFENDANT REVATURE LLC’S MOTION
            vs.                                   TO COMPEL ARBITRATION AND DISMISS
23                                                OR STAY PROCEEDINGS
     REVATURE LLC, a Virginia corporation;
24   and DOES 1 through 50, inclusive,
                                                  Date:        August 24, 2022
25
                    Defendants.                   Time:        1:00 p.m.
26                                                Courtroom:   5

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                                                   1

                                        NOTICE OF NEW AUTHORITY
              Case 5:22-cv-01745-NC Document 23 Filed 09/28/22 Page 2 of 12




 1   TO THE HONORABLE COURT AND TO DEFENDANT AND ITS COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that Plaintiff Leyla Shams (“Plaintiff”) hereby submits this

 3   Notice of New Authority of the California Court of Appeal’s decision in the matter of

 4   Gavriiloglou v. Prime Healthcare Management, Inc., --- Cal.Rptr.3d ----, 2022 WL 4354267

 5   (Sept. 20, 2022).

 6          Gavriiloglou is directly relevant to the Parties’ positions submitted in response to the

 7   Court’s Order at Dkt. No. 18, and the Parties’ briefing at Dkt. No. 20. A true and correct copy of

 8   the Gavriiloglou is attached hereto as Exhibit “A.”

 9
10   DATED: September 28, 2022                    DIVERSITY LAW GROUP, P.C.

11
                                                  By:    /s/ Max W. Gavron
12                                                        Larry W. Lee
                                                          Kristen M. Agnew
13                                                        Nicholas Rosenthal
                                                          Kwanporn “Mai” Tulyathan
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                                                  Attorneys for Plaintiff and the Class
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                                       NOTICE OF NEW AUTHORITY
Case 5:22-cv-01745-NC Document 23 Filed 09/28/22 Page 3 of 12




 EXHIBIT A
                Case 5:22-cv-01745-NC Document 23 Filed 09/28/22 Page 4 of 12
Gavriiloglou v. Prime Healthcare Management, Inc., --- Cal.Rptr.3d ---- (2022)
2022 WL 4354267

                                                                 against Gavriiloglou on her PAGA claim; it ruled that
                    2022 WL 4354267                              the arbitrator's findings established that she was not an
     Only the Westlaw citation is currently available.           “aggrieved employee” within the meaning of PAGA, and
  Court of Appeal, Fourth District, Division 2, California.      therefore that she lacked standing to bring a PAGA claim.

                                                                 Gavriiloglou appeals. She contends that (1) the trial court
               Eleni GAVRIILOGLOU,
                                                                 erred by denying her petition to vacate the arbitration award,
                Plaintiff and Appellant,                         and (2) the trial court erred by ruling that the arbitration award
                            v.                                   barred her PAGA claim.
   PRIME HEALTHCARE MANAGEMENT,
                                                                 We will hold that the trial court properly denied the motion
    INC. et al., Defendants and Respondents.                     to vacate the arbitration award. However, we will also hold
                                                                 that the arbitration did not bar the PAGA claim because
                        E076832
                                                                 Gavriiloglou was acting in different capacities and asserting
                            |
                                                                 different rights. Accordingly, we will reverse.
                  Filed August 26, 2022
                            |
  As Modified on Denial of Rehearing September 20, 2022
                            |                                    I
               Certified for Partial Publication.*
                                                                 STATEMENT OF THE CASE
APPEAL from the Superior Court of San Bernardino
County. Donald R. Alvarez, Judge. Reversed. (Super.Ct.No.        In her complaint, Gavriiloglou asserted causes of action
CIVDS1709515)                                                    against Prime Healthcare Management, Inc., Prime
                                                                 Healthcare Management II, Inc., Hospital Business Services,
Attorneys and Law Firms                                          Inc., and Dr. Prem Reddy (collectively Prime):
Law Offices of Gavril T. Gabriel and Gavril T. Gabriel, Long
                                                                 (1) Under the Labor Code, for:
Beach, for Plaintiff and Appellant.
                                                                     (a) Failure to provide meal and rest periods (Lab. Code, §
Morgan, Lewis & Bockius, Thomas M. Peterson, Christopher
                                                                        226.7);
J. Banks, San Francisco, Clifford D. Sethness, Los Angeles,
and Samson C. Huang, Los Angeles, for Defendants and                 (b) Failure to pay overtime (Lab. Code, § 510);
Respondents.
                                                                     (c) Failure to provide all wages due at termination (Lab.
                                                                        Code, § 201);
OPINION
                                                                     (d) Waiting time penalties (Lab. Code, § 203);
RAMIREZ, P. J.
                                                                     (e) Failure to produce an employee file (Lab. Code, §
 *1 Eleni Gavriiloglou brought this action against her former           1198.5);
employer and its alleged alter egos. She asserted, among
                                                                     (f) Misclassification as exempt (Lab. Code, § 515);
other things, (1) individual claims for damages based on
Labor Code violations and (2) a representative claim for             (g) Retaliation (Lab. Code, § 1102.5); and
civil penalties for Labor Code violations under the Private
Attorneys General Act (Lab. Code, § 2698 et seq.) (PAGA).            (h) PAGA penalties (Lab. Code, § 2698 et seq.);
As Gavriiloglou had signed an arbitration agreement, the trial
court compelled her to arbitrate her non-PAGA claims and         (2) Under the Fair Employment and Housing Act (Gov. Code,
stayed her PAGA claim while she did. The arbitrator found        § 12900 et seq.) (FEHA), for:
that the alleged Labor Code violations had not occurred.
The trial court then granted judgment on the pleadings               (a) Discrimination, harassment, and retaliation;



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                 Case 5:22-cv-01745-NC Document 23 Filed 09/28/22 Page 5 of 12
Gavriiloglou v. Prime Healthcare Management, Inc., --- Cal.Rptr.3d ---- (2022)
2022 WL 4354267


  (b) Failure to prevent discrimination, harassment, and           (1) The arbitrator had failed to rule on her claim of failure
     retaliation;                                                  to engage in a good-faith interactive process in violation of
                                                                   FEHA; and
  (c) Failure to provide reasonable accommodation;

  (d) Failure to engage in the good faith interactive process      (2) The arbitrator failed to allow her to obtain the testimony
     to determine effective reasonable accommodation; and          of Dr. Prem Reddy, either in a deposition or at the hearing.

  (e) Wrongful termination in violation of FEHA;                   The trial court denied the motion.

(3) Wrongful termination in violation of public policy; and
                                                                   B. Discussion.
(4) Unfair competition (Bus. & Prof. Code, § 17200).               “To determine whether an arbitration award should be vacated
                                                                   under Code of Civil Procedure section 1286.2, we review the
Gavriiloglou had signed an arbitration agreement as a              trial court's decision de novo. [Citation.]” (Bacall v. Shumway
condition of her employment. Thus, Prime filed a motion            (2021) 61 Cal.App.5th 950, 957.)
to compel arbitration of all of her non-PAGA claims and to
stay the litigation of her PAGA claim. Over Gavriiloglou's
opposition, the trial court granted the motion.                    1. Failure to decide the good-faith interactive process claim.

The parties selected an arbitrator jointly. After an evidentiary   First, Gavriiloglou contends that the arbitrator failed to decide
hearing, the arbitrator issued a final award in the favor of       her good-faith interactive process claim.
Prime. In it, the arbitrator found that the alleged Labor Code
violations did not occur.                                          “Arbitrators are required to decide all questions submitted
                                                                   that are ‘necessary’ to determine the controversy. [Citation.]
 *2 Prime then filed a motion for judgment on the pleadings        [¶] Failure to do so may be ground to vacate the
on the PAGA claim. It argued that the arbitrator's ruling          award ....” (Knight et al., Cal. Practice Guide: Alternative
against Gavriiloglou on her Labor Code claims established,         Dispute Resolution (The Rutter Group 2021 update) ¶ 5:498
as a matter of issue preclusion, that she was not an “aggrieved    at p. 5-559; see also Code Civ. Proc., §§ 1283.4, 1286.2,
employee” (Lab. Code, § 2699, subd. (a)) and therefore             subd. (a)(5); VVA-TWO, LLC v. Impact Development Group,
she lacked standing to bring a PAGA claim. The trial court         LLC (2020) 48 Cal.App.5th 985, 998.) “The award need
granted judgment on the pleadings, without leave to amend.         not, however, set forth findings of fact or a statement of
Accordingly, it entered judgment against Gavriiloglou and in       reasons. The award is valid as long as it serves to settle
favor of Prime.                                                    the entire controversy .... [Citation.]” (Severtson v. Williams
                                                                   Construction Co. (1985) 173 Cal.App.3d 86, 92.)

                                                                   “[I]t is presumed that all issues submitted for decision
II**                                                               have been passed on and resolved, and the burden of
                                                                   proving otherwise is upon the party challenging the award.
Unpublished Text Follows
                                                                   [Citations.]” (Rodrigues v. Keller (1980) 113 Cal.App.3d 838,
                                                                   842.)
THE MOTION TO VACATE THE ARBITRATION AWARD
                                                                   FEHA prohibits an employer from discriminating against
Gavriiloglou contends that the trial court erred by denying her
                                                                   or harassing an employee based on, among other protected
petition to vacate the arbitration award.
                                                                   characteristics, a disability. (Gov. Code, § 12940, subds.
                                                                   (a), (j).) It requires an employer “to make reasonable
A. Additional Factual and Procedural Background.                   accommodation for [a] known ... disability of an ...
Gavriiloglou filed a petition to vacate the arbitration award.     employee.” (Id., subd. (m)(1).) It also requires an employer,
She argued that:                                                   “in response to a request for reasonable accommodation by



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                 Case 5:22-cv-01745-NC Document 23 Filed 09/28/22 Page 6 of 12
Gavriiloglou v. Prime Healthcare Management, Inc., --- Cal.Rptr.3d ---- (2022)
2022 WL 4354267

an employee ... with a known ... disability,” “to engage in a      failed to engage in the interactive process. We accept this as
timely, good faith, interactive process with the employee ...      showing that Gavriiloglou did raise her interactive process
to determine effective reasonable accommodations, if               claim in the arbitration. If only out of an excess of caution,
any ....” (Id., subd. (n).)                                        however, we point out that it does not show that there were
                                                                   grounds to vacate the award. “Statements by an attorney,
Here, the arbitrator noted that Gavriiloglou had alleged           whether made in court or in a brief, are not evidence.
FEHA claims, including “failure to engage in the interactive       [Citations.]” (Muskan Food & Fuel, Inc. v. City of Fresno
process ....” In a section entitled “Disabilities,” she rejected   (2021) 69 Cal.App.5th 372, 389-390.) And even if they were,
them, in part because she found that “[t]here was no evidence      a court cannot vacate an arbitration award based on either
that [Gavriiloglou] requested or needed any workplace              “ ‘the merits of the controversy’ ” or “ ‘the sufficiency of
accommodations related to her [disability] beyond occasional       the evidence.’ ” (Morris v. Zuckerman (1968) 69 Cal.2d 686,
time off work and the use of the restroom as needed[,] which       691.)
[Prime] provided.”
                                                                   Thus, the trial court properly refused to vacate the award
“Once notified of a disability, the employer's burden is to take   on the theory that the arbitrator had failed to decide
positive steps to accommodate the employee's limitations.          Gavriiloglou's interactive process claim.
The employee also retains a duty to cooperate with the
employer's effort by explaining his or her disability and
qualifications. Reasonable accommodation thus envisions an
                                                                   2. Inability to call or depose Dr. Prem Reddy.
exchange between employer and employee where each seeks
and shares information to achieve the best match between the       Second, Gavriiloglou contends that the arbitrator did not
employee's capabilities and available positions. [Citation.] If    allow her to call or to depose Dr. Prem Reddy.
a reasonable accommodation does not work, the employee
must notify the employer, who has a duty to provide further
accommodation. [Citation.]” (Brown v. Los Angeles Unified
                                                                   a. Additional factual and procedural background.
School District (2021) 60 Cal.App.5th 1092, 1108, italics
added.)                                                            In her complaint, Gavriiloglou alleged that her supervisors,
                                                                   Kenneth Wheeler and Sheila Reddy,1 participated in the
 *3 Here, then, the arbitrator's finding that Prime provided all
                                                                   alleged FEHA and Labor Code violations. She complained to
of the accommodations that (as far as the evidence showed)
                                                                   them about some of the violations. She also complained to
Gavriiloglou requested and needed was dispositive of her
                                                                   Hazel Ganay, a member of the Human Resources staff.
good-faith interactive process claim.

                                                                   She alleged that Wheeler told her that Dr. Reddy had approved
Gavriiloglou asserts that “a trier of fact's ruling that an
                                                                   a salary increase and a bonus, neither of which she ever
employer reasonabl[y] accommodated an employee is not
                                                                   received. Dr. Reddy also asked her to create “ ‘bridge
necessarily dispositive on the question of whether the
                                                                   routines’ that would allow defendants to bill Medicare/Medi-
employer also satisfied its duty to engage in good faith
                                                                   Cal and other private health insurance companies inflated
in the interactive process.” (Italics added.) In principle,
                                                                   or inaccurate charges .... Plaintiff asked if this practice was
we agree. (See, e.g., Wysinger v. Automobile Club of
                                                                   illegal and was told by [Dr.] Reddy and Wheeler that this
Southern California (2007) 157 Cal.App.4th 413, 425-426
[employer was not liable for failure to provide reasonable         was legal.” (Capitalization altered.)2 Prime terminated her,
accommodation, because parties never reached the stage of          in part, “in retaliation for [her] refusal to ... participate in
deciding which accommodation was required, but it could be         unlawful billing practices ....” Also, at one point, she emailed
liable for failure to engage in interactive process].) On the      a complaint about disability discrimination to both Human
facts of this case, however, as found by the arbitrator, it was    Resources and Dr. Reddy. Apparently it is undisputed that
dispositive.                                                       it was Sheila Reddy who told Gavriiloglou that she was
                                                                   terminated.
Gavriiloglou also quotes a portion of her post-hearing reply
brief discussing the evidence supposedly proving that Prime



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                 Case 5:22-cv-01745-NC Document 23 Filed 09/28/22 Page 7 of 12
Gavriiloglou v. Prime Healthcare Management, Inc., --- Cal.Rptr.3d ---- (2022)
2022 WL 4354267

 *4 The arbitrator ordered the parties to meet and confer        “[V]acation of an award for ‘refusal ... to hear evidence
regarding a discovery plan, including the number of              material to the controversy’ (§ 1286.2, subd. (a)(5)) must
depositions to be taken.                                         rest on more than a simple error in applying the rules
                                                                 of evidence.... The provision ... was designed as a ‘safety
Gavriiloglou wanted to take 15 depositions, including Dr.        valve in private arbitration that permits a court to intercede
Reddy's. Prime objected that Dr. Reddy was an “ ‘apex’           when an arbitrator has prevented a party from fairly
witness” and Gavriiloglou had not shown good cause to            presenting its case.’ [Citation.] It comes into play, for
depose him as such.                                              example, when an arbitrator, without justification, permits
                                                                 only one side to present evidence on a disputed material
After a hearing, the arbitrator agreed that Dr. Reddy was an     issue. [Citation.]” (Heimlich v. Shivji (2019) 7 Cal.5th 350,
apex witness and that Gavriiloglou had not shown good cause      368-369.)
to take his deposition. However, she allowed Gavriiloglou to
serve 15 interrogatories on Dr. Reddy. Gavriiloglou did so,      “[W]hen a plaintiff seeks to depose a corporate president or
and Dr. Reddy responded. In his response, he testified that:     other official at the highest level of corporate management,
                                                                 and that official moves for a protective order to prohibit the
(1) He did not remember the substance of any conversation        deposition, the trial court should first determine whether the
that he may have had with Wheeler about Gavriiloglou.            plaintiff has shown good cause that the official has unique
                                                                 or superior personal knowledge of discoverable information.
(2) He did not remember Gavriiloglou ever complaining to         If not, as will presumably often be the case in the instance
him about bridge routines.                                       of a large national or international corporation, the trial court
                                                                 should issue [a] protective order and first require the plaintiff
(3) Gavriiloglou sent an email to Hazel Ganay complaining        to obtain the necessary discovery through less-intrusive
about Sheila Reddy, with a copy to Dr. Reddy. He forwarded       methods. These would include interrogatories directed to
it to Human Resources. He understood that Ganay followed         the high-level official to explore the state of his or her
up with Gavriiloglou.                                            knowledge or involvement in plaintiff's case; the deposition
                                                                 of lower-level employees with appropriate knowledge and
(4) His only involvement in the decision to terminate            involvement in the subject matter of the litigation; and the
Gavriiloglou was “deferring to” Sheila Reddy's termination       organizational deposition of the corporation itself, which will
decision. This occurred during a meeting with Sheila Reddy.      require the corporation to produce for deposition the most
He did not remember anything else about the meeting.             qualified officer or employee to testify on its behalf as to the
                                                                 specified matters to be raised at the deposition. [Citation.]
Based on Dr. Reddy's responses, Gavriiloglou filed a motion      Should these avenues be exhausted, and the plaintiff make a
to compel his deposition. The arbitrator denied the motion,      colorable showing of good cause that the high-level official
finding again that Gavriiloglou had not shown good cause to      possesses necessary information to the case, the trial court
take his deposition.                                             may then lift the protective order and allow the deposition to
                                                                 proceed.” (Liberty Mutual Ins. Co. v. Superior Court (1992)
Prime filed a motion in limine to preclude Gavriiloglou from     10 Cal.App.4th 1282, 1289.) These rules apply even when the
calling Dr. Reddy to testify at the arbitration hearing. The     deponent is a party. (See Nagle v. Superior Court (1994) 28
arbitrator granted the motion. Thus, Dr. Reddy did not testify   Cal.App.4th 1465, 1468.)
in the arbitration, either in person or by deposition.
                                                                  *5 Gavriiloglou does not dispute that Dr. Reddy was
                                                                 such a high-level official. It follows that the arbitrator
                                                                 properly restricted Gavriiloglou to serving interrogatories
b. Discussion.
                                                                 on him. She has not shown that she was unable to obtain
An arbitration award may be vacated if “[t]he rights             equivalent information through “the deposition of lower-
of the party were substantially prejudiced ... by the            level employees” or “the organizational deposition of the
refusal of the arbitrators to hear evidence material to the      corporation itself.” Because she failed to “exhaust[ ]” these
controversy ....” (Code Civ. Proc., § 1286.2, subd (a)(5).)      “avenues,” she cannot complain that she was not allowed to
                                                                 depose Dr. Reddy.



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                 Case 5:22-cv-01745-NC Document 23 Filed 09/28/22 Page 8 of 12
Gavriiloglou v. Prime Healthcare Management, Inc., --- Cal.Rptr.3d ---- (2022)
2022 WL 4354267


Separately and alternatively, Gavriiloglou also failed to show       End of Unpublished Text
that Dr. Reddy had information “necessary ... to the case.” She
argues that “Dr. Reddy is a key witness to the presentation
                                                                     III
of Plaintiff's case because he had personal knowledge as to
‘bridge routines,’ promised bonuses, and the final termination
discussion between h[im] and Sheila Reddy, the individual            THE EFFECT OF THE ARBITRATOR'S RULING ON THE
that allegedly made the decision to terminate Plaintiff.             PAGA CLAIM
[Citation.]”
                                                                     Gavriiloglou contends that the trial court erred by ruling that
                                                                     the arbitration award barred her PAGA claim because:
Dr. Reddy denied discussing bridge routines with
Gavriiloglou. It would seem that other witnesses could have
                                                                     (1) The arbitrator had no authority to decide the PAGA claim.
testified about what bridge routines are, whether they are
legal, whether Gavriiloglou objected to them, and whether
she was fired for objecting to them. Those witnesses would           (2) This case is analogous to Kim v. Reins International
include Wheeler, with whom she allegedly discussed them,             California, Inc. (2020) 9 Cal.5th 73, 259 Cal.Rptr.3d 769,
and Sheila Reddy, who made the decision to fire her.                 459 P.3d 1123 (Kim), which held that an employee who has
                                                                     settled his or her individual Labor Code claims remains an
Indeed, the arbitrator rejected Gavriiloglou's claims regarding      “aggrieved employee” with standing to assert a PAGA claim.
bridge routines because — like Dr. Reddy — both Wheeler
and Sheila Reddy did not remember discussing them with               (3) Issue preclusion did not apply because the arbitration was
her, and also because the evidence showed that Gavriiloglou          part of the same action as the litigation of the PAGA claim.
“continued to work on bridge routines regularly throughout
the rest of her time at Prime.” Thus, Gavriiloglou has not            *6 (4) Issue preclusion did not apply because Gavriiloglou
shown that Dr. Reddy's testimony about bridge routines was           was acting in different capacities in the arbitration and in the
“necessary” or that it would have changed the outcome.               litigation of the PAGA claim.


Similarly, Gavriiloglou alleged that Wheeler told her that           We need not decide her first three contentions, because we
Dr. Reddy had authorized a salary increase and a bonus for           conclude that the fourth is dispositive.
her, which were was never paid. She had the opportunity
to examine Wheeler and Sheila Reddy on this topic. They
                                                                        A. Legal Background.
testified that bonuses were discretionary and were never
                                                                     PAGA “empowers employees to sue on behalf of themselves
promised, and the arbitrator accepted this testimony.
                                                                     and other aggrieved employees to recover civil penalties
                                                                     previously recoverable only by the Labor Commissioner ....
Dr. Reddy conceded that he may have discussed Gavriiloglou
                                                                     [Citations.]” (ZB, N.A. v. Superior Court (2019) 8 Cal.5th
with Wheeler, but if so, he did not remember the content of the
                                                                     175, 185, 252 Cal.Rptr.3d 228, 448 P.3d 239.) “Of the
discussion. Thus, again, it does not appear that his testimony
                                                                     civil penalties recovered, 75 percent goes to the Labor and
was necessary or that it would have changed the outcome.
                                                                     Workforce Development Agency, leaving the remaining 25
                                                                     percent for the ‘aggrieved employees.’ [Citation.]” (Arias
Finally, Dr. Reddy testified that he deferred to Sheila Reddy's
                                                                     v. Superior Court (2009) 46 Cal.4th 969, 980-981, 95
decision to terminate Gavriiloglou and otherwise he had
                                                                     Cal.Rptr.3d 588, 209 P.3d 923, fn. omitted.)
no recollection of the discussion. Accordingly, once again,
Gavriiloglou has not shown that further testimony from Dr.
                                                                     “Only an ‘aggrieved employee’ has standing to bring a civil
Reddy on this topic would have changed the outcome.
                                                                     action under PAGA. [Citation.]” (Moniz v. Adecco USA, Inc.
                                                                     (2021) 72 Cal.App.5th 56, 74, 287 Cal.Rptr.3d 107; see also
In sum, Gavriiloglou has not shown that her rights were
                                                                     Lab. Code, § 2699, subd. (a).) “Aggrieved employee” is
substantially prejudiced by the arbitrator's refusal to let her
                                                                     defined as “any person who was employed by the alleged
depose Dr. Reddy or call him to testify. It follows that the trial
                                                                     violator and against whom one or more of the alleged
court properly refused to vacate the award on this ground.
                                                                     violations was committed.” (Lab. Code, § 2699, subd. (c).)


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                Case 5:22-cv-01745-NC Document 23 Filed 09/28/22 Page 9 of 12
Gavriiloglou v. Prime Healthcare Management, Inc., --- Cal.Rptr.3d ---- (2022)
2022 WL 4354267

                                                                  by or entitled to the benefits of the rules of res judicata
“All PAGA claims are ‘representative’ actions in the sense        in a subsequent action in which he appears in another
that they are brought on the state's behalf. The employee acts    capacity.” This rule applies to both claim preclusion and
as ‘ “the proxy or agent of the state's labor law enforcement     issue preclusion. (Id., com. a.) “With respect to issue
agencies” ’ and ‘ “represents the same legal right and interest   preclusion, a party appearing in successive actions ... is not
as” ’ those agencies — ‘ “namely, recovery of civil penalties     precluded where the capacities in which he participated are
that otherwise would have been assessed and collected by the      different.” (Ibid.)3
Labor Workforce Development Agency.” ’ [Citation.]” (ZB,
N.A. v. Superior Court, supra, 8 Cal.5th at p. 185, 252           California follows this rule. For purposes of both issue
Cal.Rptr.3d 228, 448 P.3d 239.)                                   preclusion and claim preclusion, “ ‘[i]dentity of parties
                                                                  means not only that they must be identical in person,
                                                                  but that the capacity in which they appear must be the
   B. Issue Preclusion Where the Plaintiff Is Acting in
                                                                  same. A judgment for or against a party in one right or
   Different Capacities.
                                                                  capacity cannot affect him when acting in another right or
As mentioned, Gavriiloglou contends that issue preclusion
                                                                  capacity.’ [Citation.]” (Holman v. Santa Cruz County (1949)
did not apply because she was acting in different capacities in
                                                                  91 Cal.App.2d 502, 513, 205 P.2d 767; e.g., Meldrim v.
the arbitration and in the litigation of the PAGA claim.
                                                                  Board of Supervisors (1976) 57 Cal.App.3d 341, 346, 127
                                                                  Cal.Rptr. 52; Travis Glass Co. v. Ibbetson (1921) 186 Cal.
She did not raise this argument below. “ ‘We have discretion,
                                                                  724, 729-730, 200 P. 595; see also Code Civ. Proc., § 1908,
however, to address a pure question of law raised for
                                                                  subd. (a)(2) [judgment is conclusive between the parties when
the first time on appeal. [Citation.]’ [Citation.]” (Kaura v.
                                                                  “litigating ... in the same capacity”].)
Stabilis Fund II, LLC (2018) 24 Cal.App.5th 420, 430, 234
Cal.Rptr.3d 265.) This contention presents precisely such a
                                                                  California does recognize one exception: “ ‘Where a party
question. Moreover, Prime has not objected based on her
                                                                  though appearing in two suits in different capacities is in fact
failure to raise the argument below; rather, it has responded
                                                                  litigating the same right, the judgment in one estops him in the
to the argument on the merits. (See Grabowski v. Kaiser
                                                                  other.’ [Citations.]” (Bernhard v. Bank of America Nat. Trust
Foundation Health Plan, Inc. (2021) 64 Cal.App.5th 67, 75,
                                                                  & Savings Assn. (1942) 19 Cal.2d 807, 814, 122 P.2d 892.)
fn. 3, 278 Cal.Rptr.3d 553 [court considered new issue on
                                                                  Here, however, Gavriiloglou is not litigating the same right.
appeal where facts were undisputed and respondent had not
objected].)
                                                                  “In a lawsuit brought under [PAGA], the employee plaintiff
                                                                  represents the same legal right and interest as state labor law
“The doctrine of res judicata has two aspects — claim
                                                                  enforcement agencies — namely, recovery of civil penalties
preclusion and issue preclusion. [Citations.]” (Ivanoff v.
                                                                  that otherwise would have been assessed and collected by the
Bank of America, N.A. (2017) 9 Cal.App.5th 719, 727, 215
                                                                  Labor Workforce Development Agency. [Citation.]” (Arias v.
Cal.Rptr.3d 442.) “Issue preclusion ... ‘applies only “(1)
                                                                  Superior Court, supra, 46 Cal.4th at p. 986, 95 Cal.Rptr.3d
after final adjudication (2) of an identical issue (3) actually
                                                                  588, 209 P.3d 923.) “[Individual] employees do not own
litigated and necessarily decided in the first suit and (4)
                                                                  a personal claim for PAGA civil penalties [citation], and
asserted against one who was a party in the first suit or
                                                                  whatever personal claims [individual] employees might have
one in privity with that party.” ’ [Citation.]” (Grande v.
                                                                  for relief are not at stake [citation].” (Williams v. Superior
Eisenhower Medical Center (2022) 13 Cal.5th 313, 323, 295
                                                                  Court (2017) 3 Cal.5th 531, 547, fn. 4, 220 Cal.Rptr.3d
Cal.Rptr.3d 126, 512 P.3d 73, italics omitted.) An arbitration
                                                                  472, 398 P.3d 69.) Thus, in the arbitration, Gavriiloglou was
award can have issue preclusion effect. (Sanchez v. Carmax
                                                                  litigating her own individual right to damages for Labor
Auto Superstores California, LLC (2014) 224 Cal.App.4th
                                                                  Code violations, whereas in the present PAGA action, she is
398, 407, 168 Cal.Rptr.3d 473; Border Business Park, Inc.
                                                                  litigating the state's right to statutory penalties for Labor Code
v. City of San Diego (2006) 142 Cal.App.4th 1538, 1564, 49
                                                                  violations. It follows that the arbitrator's findings cannot have
Cal.Rptr.3d 259.)
                                                                  preclusive effect.

 *7 According to the Restatement (Second) of Judgments,
                                                                  Prime argues that a PAGA claim does not belong solely to
section 36(2), “[a] party appearing in an action in one
                                                                  the state, because the plaintiff employee is entitled to a share
capacity, individual or representative, is not thereby bound


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                Case 5:22-cv-01745-NC Document 23 Filed 09/28/22 Page 10 of 12
Gavriiloglou v. Prime Healthcare Management, Inc., --- Cal.Rptr.3d ---- (2022)
2022 WL 4354267

of the civil penalties recovered. Nevertheless, that entitlement   the Second Lawsuit, the harm suffered for such violations is
does not exist independently; it is strictly derivative of         to the state and the general public, in which civil penalties
the state's right to assess and collect “a civil penalty ...       are assessed even if there is no injury to the employees
for a violation of th[e Labor C]ode. (Lab. Code, § 2699,           themselves. [Citations.]” (Id. at p. 487, 297 Cal.Rptr.3d 181.)
subds. (a), (i).) A PAGA action “ ‘is fundamentally a law
enforcement action designed to protect the public and not          Prime argues that “the ‘same right,’ for purposes of issue
to benefit private parties.’ ” (Arias v. Superior Court, supra,    preclusion, is not equivalent to the ‘same primary right,’
46 Cal.4th at p. 986, 95 Cal.Rptr.3d 588, 209 P.3d 923.)           a concept relevant only to claim preclusion ....” (Italics
For example, the plaintiff employee cannot assign his or           omitted.) That is not entirely correct; the “same right”
her PAGA claim. (Amalgamated Transit Union, Local 1756,            is relevant to whether either claim preclusion or issue
AFL-CIO v. Superior Court (2009) 46 Cal.4th 993, 1003, 95          preclusion applies against a party who is litigating in a
Cal.Rptr.3d 605, 209 P.3d 937.)                                    different capacity. (Bernhard v. Bank of America Nat. Trust
                                                                   & Savings Assn., supra, 19 Cal.2d at p. 814, 122 P.2d
 *8 Recently, Howitson v. Evans Hotels, LLC (2022) 81              892 [issue preclusion]; Hardware Mut. Ins. Co. of Minn. v.
Cal.App.5th 475, 297 Cal.Rptr.3d 181 came to a similar             Valentine (1953) 119 Cal.App.2d 125, 131, 259 P.2d 70 [claim
conclusion, albeit in the context of claim preclusion. There,      preclusion].) However, we need not decide this point. The
Howitson filed an action against her former employer,              reasoning in Howitson was that the first lawsuit was based on
asserting Labor Code and unfair competition claims,                the harm to individual employees, whereas the second lawsuit
individually and as a representative of a putative class, but      was based on the harm to the state and the general public.
not a PAGA claim. (Id. at p. 482, 297 Cal.Rptr.3d 181.) That       This leads to the conclusion, not only that they were not based
action was settled, and the trial court entered judgment for       on the same primary right, but also that they were not based
Howitson. (Ibid.) Howitson then filed a new action against         on the same right at all. The same reasoning applies to the
the employer, asserting a PAGA claim “ ‘based on the same          individual arbitration and the PAGA litigation here.
factual predicates’ ” as her first lawsuit. (Ibid.)
                                                                   According to Prime, “[t]he ‘same right’ in the context of
The appellate court held that “claim preclusion does not apply     the exception to the rule of different capacities must mean
because the parties in the two lawsuits are not the same.          something different than the same ‘primary right.’ Otherwise,
[Citation.] In the First Lawsuit, Howitson was the real party      the exception would never apply.” This formulation presumes
in interest, as she as an individual and class representative      that a party acting in a different capacity is necessarily
sought damages against Evans Hotels for purported Labor            asserting a different primary right. Not so.
Code violations to the employees. [Citation.] [¶] However,
in the Second Lawsuit, the state is the real party in interest.    For example, in In re Estate of Bell (1908) 153 Cal. 331, 95
[Citations.] Although the Legislature gave Howitson, an            P. 372, a widow, as administratrix, filed an account crediting
‘aggrieved employee,’ standing to act as a representative in       herself with a family allowance; however, when creditors of
the Second Lawsuit, she is not the real party in interest in       the estate objected to her account, she lost. (Id. at pp. 332-333,
that suit. [Citations.]” (Howitson v. Evans Hotels, LLC, supra,    340-341, 95 P. 372.) She then sued for the family allowance
81 Cal.App.5th at pp. 488-489, 297 Cal.Rptr.3d 181.) It also       in her individual capacity. (Id. at pp. 333-335, 95 P. 372) The
held that the state was not in privity with Howitson, “because     Supreme Court held that issue preclusion applied (id. at p.
the state had no interest in the subject matter of the First       342, 95 P. 372), in part because she was asserting the same
Lawsuit.” (Id. at pp. 490-492, 297 Cal.Rptr.3d 181.)               right in both actions. (Id. at p. 344, 95 P. 372.) The widow's
                                                                   right to a family allowance (whether asserted as widow or as
Finally, the appellate court held that the two actions were        administratrix) was the same right; by contrast, Gavriiloglou's
based on different primary rights. (Howitson v. Evans              right to civil penalties is different from her right to damages.
Hotels, LLC, supra, 81 Cal.App.5th at pp. 487-488, 297
Cal.Rptr.3d 181.) “In the First Lawsuit, the harm suffered          *9 Prime also cites Viking River Cruises, Inc. v. Moriana
was to Howitson individually and to a putative class of            (2022) ––– U.S. ––––, 142 S.Ct. 1906, 213 L.Ed.2d 179
former or current employees of Evans Hotel, for purported          (Viking River). Viking River distinguished between an
Labor Code violations to the employees themselves in which         “individual PAGA claim,” which it defined as a claim for
compensatory damages were sought. [Citation.] However, in          Labor Code violations suffered by the plaintiff employee,



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                Case 5:22-cv-01745-NC Document 23 Filed 09/28/22 Page 11 of 12
Gavriiloglou v. Prime Healthcare Management, Inc., --- Cal.Rptr.3d ---- (2022)
2022 WL 4354267

and a “representative PAGA claim,” which it defined as a            they were not given notice of the action or afforded any
claim for Labor Code violations suffered by other employees.        opportunity to be heard, would not be bound by the judgment
(Id. at p. 1916.) It then held that the Federal Arbitration Act     as to remedies other than civil penalties. [Citation.]” (Arias,
preempts a state-law rule that precludes the arbitration of         supra, 46 Cal.4th at p. 987, 95 Cal.Rptr.3d 588, 209 P.3d
an individual PAGA claim separately from a representative           923.) It infers that the plaintiff employee, who was given
PAGA claim. (Id. at pp. 1923-1926.)                                 notice and an opportunity to be heard, is bound as to non-
                                                                    PAGA claims. That does not follow. As we are holding, the
In Prime's view, Viking River “explicitly recognizes an             plaintiff employee also is not bound — just for a different
individual claim under PAGA ....” This is mere wordplay.            reason. That issue simply was not presented in Arias. “It is
What the Supreme Court called, as shorthand, an “individual         axiomatic that cases are not authority for propositions that
PAGA claim” is not actually a PAGA claim at all. It would           are not considered. [Citation.]” (California Building Industry
exist even if PAGA had never been enacted. It is what we are        Association v. State Water Resources Control Board (2018) 4
calling, more accurately, an individual Labor Code claim.           Cal.5th 1032, 1043, 232 Cal.Rptr.3d 64, 416 P.3d 53.)

Last but not least, Prime argues that our holding conflicts with     *10 Arias also held that “if an employee plaintiff prevails
Arias v. Superior Court, supra, 46 Cal.4th 969, 95 Cal.Rptr.3d      in an action under the act for civil penalties by proving
588, 209 P.3d 923 (Arias). It characterizes Arias as holding        that the employer has committed a Labor Code violation,
“that issue preclusion can apply to the result of the PAGA          the defendant employer will be bound by the resulting
action even as to non-PAGA claims. In other words, the              judgment. Nonparty employees may then, by invoking
PAGA plaintiff's capacity is not controlling.”                      collateral estoppel, use the judgment against the employer
                                                                    to obtain remedies other than civil penalties for the same
Arias held that “with respect to the recovery of civil penalties,   Labor Code violations.” (Arias, supra, 46 Cal.4th at p. 987, 95
nonparty employees as well as the government are bound              Cal.Rptr.3d 588, 209 P.3d 923.) However, this is an instance
by the judgment in an action brought under the act.” (Arias,        of offensive nonmutual issue preclusion (see ZB, N.A. v.
supra, 46 Cal.4th at p. 986, 95 Cal.Rptr.3d 588, 209 P.3d           Superior Court, supra, 8 Cal.5th at p. 197, 252 Cal.Rptr.3d
923, italics added.) “Because an aggrieved employee's action        228, 448 P.3d 239), which does not require that the party
under [PAGA] functions as a substitute for an action brought        asserting issue preclusion have been a party to the previous
by the government itself, a judgment in that action binds           action at all — much less in the same capacity. (Bernhard v.
all those, including nonparty aggrieved employees, who              Bank of America Nat. Trust & Savings Assn., supra, 19 Cal.2d
would be bound by a judgment in an action brought by the            at pp. 812-813, 122 P.2d 892.) It remains the law that the
government.... When a government agency is authorized to            party bound by issue preclusion must have been a party to the
bring an action on behalf of an individual or in the public         previous action in the same capacity.
interest, and a private person lacks an independent legal
right to bring the action, a person who is not a party but          We therefore conclude that the trial court erred by granting
who is represented by the agency is bound by the judgment           judgment on the pleadings based on issue preclusion.4
as though the person were a party. [Citation.]” (Ibid., italics
added.) “If the employer ... prevail[s], however, the nonparty
employees, because they were not given notice of the action
or afforded any opportunity to be heard, would not be bound         IV
by the judgment as to remedies other than civil penalties.
[Citation.]” (Id. at p. 987, 95 Cal.Rptr.3d 588, 209 P.3d 923,      DISPOSITION
italics added.) In other words, the judgment in a PAGA action
is binding on nonparty employees with respect to the same           The judgment is reversed. Gavriiloglou is awarded costs on
right — the recovery of civil penalties. This is perfectly          appeal against Prime.
consistent with our holding that the same employee plaintiff
in a non-PAGA action is litigating a different right.
                                                                    We concur:
Apparently Prime seizes on the sentence stating that “[i]f the
employer ... prevail[s], ... the nonparty employees, because        SLOUGH, J.



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               Case 5:22-cv-01745-NC Document 23 Filed 09/28/22 Page 12 of 12
Gavriiloglou v. Prime Healthcare Management, Inc., --- Cal.Rptr.3d ---- (2022)
2022 WL 4354267

FIELDS, J.                                                           All Citations

                                                                     --- Cal.Rptr.3d ----, 2022 WL 4354267


Footnotes
*      Pursuant to California Rules of Court, rules 8.1105(b) and 8.1110, this opinion is certified for publication with the exception
       of part II.

**     See footnote *, ante.

1      Allegedly Sheila Reddy is Dr. Reddy's niece.

2      The complaint did not define or describe “bridge routines.” In her interrogatories to Dr. Reddy, however, Gavriiloglou
       defined them as “the process in which a third-party billing clearinghouse does not allow an electronic claim form to be
       submitted until an individual manually reviews and makes edits to submit a claim to any health insurance.”

3      Gavriiloglou argues that issue preclusion is not involved here at all, because the arbitration and any further court
       proceedings are part of a single action. Even if so, there is a similar preclusion rule that does apply within a single
       action. “ ‘Issues adjudicated in earlier phases of a bifurcated trial are binding in later phases of that trial and need not be
       relitigated. [Citations.] No other rule is possible, or bifurcation of trial issues would create duplication, thus subverting the
       procedure's goal of efficiency. [Citation.] “[D]uplication of effort is the very opposite of the purpose of bifurcated trials.”
       ’ [Citations.]” (Orange County Water Dist. v. Alcoa Global Fasteners, Inc. (2017) 12 Cal.App.5th 252, 359, 219 Cal.Rptr.3d
       474; accord, Nwosu v. Uba (2004) 122 Cal.App.4th 1229, 1244, 19 Cal.Rptr.3d 416; Arntz Contracting Co. v. St. Paul
       Fire & Marine Ins. Co. (1996) 47 Cal.App.4th 464, 487, 54 Cal.Rptr.2d 888.)

4      We certified this portion of our opinion for publication at the request of the California Labor Commissioner.



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